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                                        No. 23-10911
                            UNITED STATES COURT OF APPEALS
                                     FIFTH CIRCUIT

                    In the Matter of Highland Capital Management, L.P.,
                                Reorganized Debtor/Plaintiff.
  NEXPOINT ASSET MANAGEMENT, L.P. formerly known as Highland
  Capital Management Fund Advisors, L.P., NEXPOINT ADVISORS, L.P.,
 NEXPOINT REAL ESTATE PARTNERS, L.L.C. formerly known as HCRE
  Partners L.L.C., HIGHLAND CAPITAL MANAGEMENT SERVICES,
               INCORPORATED, and JAMES DONDERO
                                         Appellants

                                                v.

                      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                          Appellee

      APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
          NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION
                    Civ. Act. No. 3:21-CV-0881-X

                            CREDITOR DISCLOSURE STATEMENT

 PACHULSKI STANG ZIEHL & JONES LLP                   HAYWARD PLLC
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                                    Counsel for Appellee




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            BANKRUPTCY CREDITOR DISCLOSURE STATEMENT

        Appellee submits the following information:

1.      The Debtor:

        Highland Capital Management, L.P.

2.      The members of the creditors’ committee:

        N/A (Committee dissolved as of Effective Date of Plan)

3.      Any entity that is an active participant in the proceeding before the
        Fifth Circuit:

        Appellants NexPoint Asset Management, L.P. formerly known as Highland
        Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
        NexPoint Real Estate Partners, L.L.C. formerly known as HCRE Partners
        L.L.C., Highland Capital Management Services, Incorporated, and James
        Dondero

        Appellee Highland Capital Management, L.P.

4.      Any other entity known to the Declarant whose stock or equity value
        could be substantially affected by the outcome of the proceeding: None

5.      Counsel to the parties/entities identified in (1) – (4):

        Appellants:

        NexPoint Asset Management, L.P., formerly known as Highland Capital
        Management Fund Advisors, L.P., NexPoint Advisors, L.P., NexPoint Real
        Estate Partners, L.L.C. formerly known as HCRE Partners L.L.C., Highland
        Capital Management Services, Incorporated, and James Dondero

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        Highland Capital Management, L.P.

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 Dated: September 20, 2023          PACHULSKI STANG ZIEHL & JONES LLP

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                            CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2023, the foregoing document was
electronically filed using the appellate CM/ECF system. I further certify that all
participants in this case are registered CM/ECF users and that service will be
accomplished via CM/ECF.


                                                /s/ Jeffrey N. Pomerantz
                                                    Jeffrey N. Pomerantz




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